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 8                            UNITED STATES DISTRICT COURT
 9                                  EASTERN DISTRICT OF CALIFORNIA
10
     JOHNNY SALDATE,                               )    1:07-CV-00309 AWI GSA HC
11                                                 )
                            Petitioner,            )    ORDER DECLINING TO ADOPT FINDINGS
12                                                 )    AND RECOMMENDATION
                                                   )    [Doc. #11]
13          v.                                     )
                                                   )    ORDER GRANTING PETITION FOR WRIT
14                                                 )    OF HABEAS CORPUS
     DERRAL ADAMS, Warden,                         )
15                                                 )    ORDER DIRECTING CLERK OF COURT
                            Respondent.            )    TO ENTER JUDGMENT
16                                                 )
17
            Petitioner Johnny Saldate is a state prisoner serving an indeterminate sentence of 15 years to
18
     life for second degree murder. Petitioner has been imprisoned since September 1986. Petitioner is
19
     proceeding with a petition for writ of habeas corpus pursuant to 28 U.S.C. § 2254. He is represented
20
     in this action by counsel. Petitioner challenges the California Board of Parole Hearings (“BPH”)’s
21
     denial of parole at the conclusion of a January 23, 2006, parole suitability hearing.
22
            On March 28, 2008, the Magistrate Judge issued a Findings and Recommendation that
23
     recommended the petition be DENIED with prejudice. The Magistrate Judge further recommended
24
     that the Clerk of Court be DIRECTED to enter judgment. The Findings and Recommendation was
25
     served on all parties and contained notice that any objections were to be filed within thirty (30) days
26
     of the date of service of the order.
27
            On March 31, 2008, Petitioner filed objections to the Findings and Recommendation. In
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 1   accordance with the provisions of 28 U.S.C. § 636(b)(1)(C), this Court has conducted a de novo
 2   review of the case. Having carefully reviewed the entire file and having considered the objections,
 3   the Court respectfully declines to adopt the Magistrate Judge’s Findings and Recommendation.
 4
 5                                           LEGAL STANDARD
 6           When a petitioner is imprisoned from a state court adjudication and files a federal habeas
 7   petition after April 24, 1996, AEDPA governs and a court will not issue a writ of habeas corpus
 8   unless it is shown that the state court decision denying relief was “contrary to, or involved an
 9   unreasonable application of clearly established federal law as determined by the United States
10   Supreme Court” or “was based on an unreasonable determination of the facts in light of the evidence
11   presented in the State court proceeding.” 28 U.S. C. § 2254(d)(1); Irons v. Carey, 505 F.3d 846, 850
12   (9th Cir. 2007); Sass v. California Bd. of Prison Terms, 461 F.3d 1123, 1127 (9th Cir. 2006).
13           California Penal Code § 3041 vests all California prisoners “whose sentences provide for the
14   possibility of parole with a constitutionally protected liberty interest in the receipt of a parole release
15   date, a liberty interest that is protected by the procedural safeguards of the Due Process Clause.”
16   Irons, 505 F.3d at 850; see Sass, 461 F.3d at 1128; Biggs v. Terhune, 334 F.3d 910, 914 (9th Cir.
17   2003). Well before 2006, “the Supreme Court had clearly established that a parole board’s decision
18   deprives a prisoner of due process with respect to this interest if the board’s decision is not supported
19   by ‘some evidence in the record,’ or is ‘otherwise arbitrary.’” Irons, 505 F.3d at 851; see Sass, 461
20   F.3d at 1128; Biggs, 334 F.3d at 915. The “some evidence” standard “does not require examination
21   of the entire record, independent assessment of the credibility of witnesses, or weighing of the
22   evidence. Instead, the relevant question is whether there is any evidence in the record that could
23   support the decision . . . .” Superintendent v. Hill, 472 U.S. 445, 455-56 (1985); Sass, 461 F.3d at
24   1128. State statutes and regulation concerning parole suitability frame the “some evidence”
25   analysis. Irons, 505 F.3d at 851. Therefore, courts “must look to California law to determine the
26   findings that are necessary to deem a prisoner unsuitable for parole, and then must review the record
27   in order to determine whether the state court decision holding that these findings were supported by
28   ‘some evidence’ . . . constituted an unreasonable application of the ‘some evidence’ principle


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 1   articulated in Hill.” Id.
 2           Under California law, with respect to an eligible “life prisoner,” the BPH “must ‘normally set
 3   a parole release date’ before the minimum term has been served,” but “an inmate shall be found
 4   unsuitable for parole and denied parole if, in the judgment of the [BPH], the prisoner will pose an
 5   unreasonable risk of danger to society if released from prison.” Id. (quoting In re Dannenberg, 34
 6   Cal.4th 1061, 1078, 1080 (2005) (quoting 15 C.C.R. § 2402(a))) (emphasis added). The BPH
 7   determines whether a prisoner is presently too dangerous to be released on parole by examining
 8   criteria set forth in regulations. See 15 C.C.R. § 2402; Irons, 505 F.3d at 851-52; Biggs, 334 F.3d at
 9   915-16. The criteria set by regulation reads:
10          (b) All relevant, reliable information available to the panel shall be considered in
            determining suitability for parole. Such information shall include the circumstances of
11          the prisoner’s social history; past and present mental state; past criminal history,
            including involvement in other criminal misconduct which is reliably documented;
12          the base and other commitment offenses, including behavior before, during and after
            the crime; past and present attitude toward the crime; any conditions of treatment or
13          control, including the use of special conditions under which the prisoner may safely
            be released to the community; and any other information which bears on the
14          prisoner’s suitability for release. Circumstances which taken alone may not firmly
            establish unsuitability for parole may contribute to a pattern which results in a finding
15          of unsuitability.
16          (c) The following circumstances each tend to indicate unsuitability for release. These
            circumstances are set forth as general guidelines; the importance attached to any
17          circumstance or combination of circumstances in a particular case is left to the
            judgment of the panel. Circumstances tending to indicate unsuitability include:
18                 (1) Commitment Offense. The prisoner committed the offense in an
                         especially heinous, atrocious or cruel manner. The factors to be
19                       considered include:
                            (A) Multiple victims were attacked, injured or killed in the same or
20                               separate incidents.
                            (B) The offense was carried out in a dispassionate and calculated
21                               manner, such as an execution-style murder.
                            (C) The victim was abused, defiled or mutilated during or after the offense.
22                          (D) The offense was carried out in a manner which demonstrates an
                                 exceptionally callous disregard for human suffering.
23                          (E) The motive for the crime is inexplicable or very trivial in relation
                                 to the offense.
24                 (2) Previous Record of Violence. The prisoner on previous occasions inflicted
                        or attempted to inflict serious injury on a victim, particularly if the
25                      prisoner demonstrated serious assaultive behavior at an early age.
                   (3) Unstable Social History. The prisoner has a history of unstable or
26                      tumultuous relationships with others.
                   (4) Sadistic Sexual Offenses. The prisoner has previously sexually assaulted
27                      another in a manner calculated to inflict unusual pain or fear upon the victim.
                   (5) Psychological Factors. The prisoner has a lengthy history of severe mental
28                      problems related to the offense.


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 1                  (6) Institutional Behavior. The prisoner has engaged in serious misconduct in
                        prison or jail.
 2
            (d) The following circumstances each tend to show that the prisoner is suitable for
 3          release. The circumstances are set forth as general guidelines; the importance attached
            to any circumstance or combination of circumstances in a particular case is left to the
 4          judgment of the panel. Circumstances tending to indicate suitability include:
 5                  (1) No Juvenile Record. The prisoner does not have a record of assaulting
                        others as a juvenile or committing crimes with a potential of personal
 6                      harm to victims.
                    (2) Stable Social History. The prisoner has experienced reasonably stable
 7                      relationships with others.
                    (3) Signs of Remorse. The prisoner performed acts which tend to indicate the
 8                      presence of remorse, such as attempting to repair the damage, seeking
                        help for or relieving suffering of the victim, or indicating that he
 9                      understands the nature and magnitude of the offense.
                    (4) Motivation for Crime. The prisoner committed his crime as the result of
10                      significant stress in his life, especially if the stress has built over a long
                        period of time.
11                  (5) Battered Woman Syndrome. At the time of the commission of the crime,
                        the prisoner suffered from Battered Woman Syndrome, as defined in
12                      section 2000(b), and it appears the criminal behavior was the result of that
                        victimization.
13                  (6) Lack of Criminal History. The prisoner lacks any significant history of
                        violent crime.
14                  (7) Age. The prisoner’s present age reduces the probability of recidivism.
                    (8) Understanding and Plans for Future. The prisoner has made realistic plans
15                      for release or has developed marketable skills that can be put to use upon release.
                    (9) Institutional Behavior. Institutional activities indicate an enhanced ability
16                      to function within the law upon release.
17                  15 C.C.R. § 2402(b), (c), (d).
18          “[T]he overarching consideration in the suitability determination is whether the inmate is
19   currently a threat to public safety.” In re Gray, 151 Cal.App.4th 379, 410 (2007); In re Weider, 145
20   Cal.App.4th 570, 589 (2006); see also In re Elkins, 144 Cal.App.4th 475, 499 (2006). “The test is
21   not whether some evidence supports the reasons . . . cite[d] for denying parole, but whether some
22   evidence indicates a parolee’s release unreasonably endangers public safety. Some evidence of the
23   existence of a particular factor does not necessarily equate to some evidence the parolee’s release
24   unreasonably endangers public safety.” In re Lee, 143 Cal.App.4th 1400, 1408 (2006); see also In re
25   Burdan, 161 Cal.App.4th 14, 31 (2008); In re Roderick, 154 Cal.App.4th 242, 263 (2007). The
26   denial of parole will not be upheld where the BPH “attaches significance to evidence that forewarns
27   no danger to the public or relies on an unsupported conclusion.” In re Tripp, 150 Cal.App.4th 306,
28   313 (2007).


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 1            “Where the nature of the commitment offense is used as a basis for denying parole, the
 2   requirement that the offense be particularly egregious is meant to convey ‘only that the violence or
 3   viciousness of the inmate’s crime must be more than minimally necessary to convict him of the
 4   offense for which he is confined.” Burdan, 161 Cal.App.4th at 29 (quoting Dannenberg, 34 Cal.4th
 5   at 1095). Recently, a California Court of Appeals has indicated that the commitment offense alone
 6   will not support a denial of parole where: “(1) a significant period of time has passed since the crime;
 7   (2) there is uncontroverted evidence of the inmate’s rehabilitation; and (3) the crime was not
 8   committed in such an especially heinous, atrocious, or cruel manner so as to undermine the evidence
 9   that the inmate’s rehabilitative efforts demonstrate he no longer would be a danger to society if
10   released . . .” In re Singler, 161 Cal.App.4th 281, 301 (2008). The continued reliance on an
11   unchanging factor, such as the commitment offense or conduct prior to prison, alone and regardless
12   of the extent of rehabilitation demonstrated, will at some point violate due process given the liberty
13   interest that flows from California’s statutes. See Irons, 505 F.3d at 854; Biggs, 334 F.3d at 917.
14            In reviewing whether “some evidence” exists to support the BPH’s decision, it is
15   “inappropriate for courts to salvage the [BPH’s] inadequate findings by inferring factors that might
16   have been relied upon. At minimum, the [BPH] is responsible for articulating the grounds for its
17   findings and for citing evidence supporting those grounds.” Burdan, 161 Cal.App.4th at 31;
18   Roderick, 154 Cal.App.4th at 262; see also In re DeLuna, 126 Cal.App.4th 585, 593-94 (2005).
19
20                                                      BACKGROUND1
21            On January 23, 2006, the BPH refused to set a parole date for Petitioner and found that he
22   posed an unreasonable risk of danger to the community. This was Petitioner’s fifth parole suitability
23   hearing.2
24            The factual background of the offense described by the BPH was:3
25
              1
                  For a recitation of the procedural posture of this case, see the Findings and Recommendation at pages 1 to 2.
26
              2
               Petitioner informs the Court that he was denied parole for a sixth time in 2007. However, that decision is not before
27   the Court. See Irons v. Carey, 505 F.3d 846, 850 n.1 (9th Cir. 2007).

28            3
                  The BPH relied on the June 2005 Correctional Counselor’s report for this factual recitation. See Transcript at 12.



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 1            On September 26, 1986, at approximately 1:30 hours, two Mexican males entered the
              7-11 store . . . in an attempt to purchase beer. Vance Kaufman, the store clerk, asked
 2            them for identification. They could not produce identification so Mr. Kaufman
              refused to sell them beer. There was a short exchange of words. One of the subjects
 3            threw food items at Mr. Kaufman. The subjects then left the store and were followed
              by Mr. Kaufman. A few moments later, a passerby ran into the store and told the
 4            manager that Mr. Kaufman was lying in the street. {By the time the police and
              paramedics arrived at the scene, Vance Kaufman was dead having died as a result of
 5            multiple stab wounds.}4 A few days following Kaufman’s death, the police received
              information through an anonymous phone call that [Petitioner] was the individual
 6            who stabbed Kaufman. On September 29, 1986, [Petitioner] was taken into custody
              and, after being advised of his rights, admitted he had stabbed Kaufman. . . .
 7            According to [Petitioner], he had been drinking all evening with his friends at his
              friend’s cousin’s house. On their way back to his friend’s house, some of the friends
 8            decided to go to the liquor store. A few moments later, [Petitioner] decided to follow
              them to the 7-11 store and when he saw them come out of the [store], he first
 9            attempted to leave and go back to his friend’s house as there did not appear to be any
              problems. According to [Petitioner], he then looked back and saw his friend5 fighting
10            with someone. [Petitioner] pulled out his knife and ran to where the fight was going
              on and stabbed individual numerous times. After the fighting stopped, [Petitioner]
11            stated that he and his friends ran from the area. [Petitioner] admits guilt and states that
              he is remorseful for the death of the victim in the commitment offense.
12
     Petition at Exhibit A (“Transcript”) at 13-15.6
13
              The BPH explained that it found Petitioner posed an unreasonable danger to the public for
14
     several reasons. First, the BPH relied on the commitment offense and found that the offense: (1) was
15
     committed in an especially cruel, callous, and heinous manner in that Petitioner attacked an unarmed
16
     man; (2) the offense was carried out in a dispassionate and calculated manner in that Petitioner was
17
     armed with a knife prior to the commission of the murder; (3) the murder showed an exceptionally
18
     callous disregard for human suffering in that Kaufmann must have suffered unimaginable physical
19
     and emotional trauma as a result of being stabbed multiple times, including in the jugular vein; and
20
21            4
               This sentence was not part of the BPH factual recitation. It comes from the 1986 Fresno County Probation report,
     which appears to be the basis for the Correctional Counselor’s report. See Answer Exhibit 3 at pp. 12-14. The Court includes
22   this sentence to clarify that Kaufman died sometime at the scene as a result of his stab wounds.

23            5
                The petition and answer indicate that it was Petitioner’s cousin who was fighting. Since it is immaterial whether
     the fighter was Petitioner’s friend or cousin, the Court will use the BPH’s characterization.
24
              6
                 The State’s answer spends most of its pages arguing that there is no clear federal law, as established by the Supreme
25   Court that California inmates have a liberty interest in parole. The Ninth Circuit has rejected, and continues to reject, this
     argument. See Castle v. W oodford, 2008 U.S. App. LEXIS 11668, *1 (9th Cir. May 27, 2008); Irons v. Carey, 505 F.3d 846,
26   850 (9th Cir. 2007); Sass v. California Bd. of Prison Terms, 461 F.3d 1123, 1128 (9th Cir. 2003). The State then argues that
     Petitioner is trying to improperly re-weigh evidence, contends that Biggs’s warning about continued reliance on unchanging
27   factors to deny parole has been disavowed in Irons (this is incorrect), and contends that, in addition to the commitment
     offense, the BPH properly relied on Saldate’s unstable social history, his use of drugs and alcohol, and the opposition of the
28   district attorney.



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 1   (4) the motive for the crime was trivial since it was committed as a result of a confrontation
 2   involving a clerk who would not sell beer to Petitioner’s minor friends. See Transcript at 86-87.
 3   Second, the BPH relied on Petitioner’s juvenile record and that Petitioner had failed to profit from
 4   society’s previous attempts at correction. See id. at 88. Third, the BPH stated that Petitioner had an
 5   unstable social history that included: (1) arrests or petitions for throwing a substance at a vehicle,
 6   public intoxication, petty theft, malicious mischief, and attempted burglary; (2) a history of using
 7   marijuana, PCP, LSD, and alcohol; and (3) gang affiliation both in prison and in the community.
 8   See id. Fourth, the BPH noted the opposition of the District Attorney. See id. at 90.
 9            Though not in support of its decision to deny parole, the BPH noted that Petitioner: (1) had
10   upgraded educationally and vocationally; (2) not had a serious disciplinary infraction since 1989; (3)
11   had a 2004 psychological assessment that was positive and indicated Petitioner posed a less than
12   average risk of danger if released; (4) had very good parole plans, including places to live and offers
13   of employment; and (5) had successfully completed several self-help programs, including an anger
14   management program and Alcoholics Anonymous (“AA”). See id. at 88-91.
15            The Fresno County Superior Court was the only court to not summarily deny Petitioner’s
16   state habeas application. The analysis of the Superior Court is very short and tracks that of the BPH:
17   “In this case, the Board took into consideration petitioner’s progress and compared it to the nature of
18   the crime, petitioner’s unstable history, his criminal record, his background of drug and alcohol use,
19   his current absence from the AA program,7 and his prior gang associations. Since some evidence
20   exists to support the Board’s findings, the petition is denied.” Answer Exhibit 5.
21
22                                                     DISCUSSION
23            After reviewing the record, at least “some evidence” supports some of the Superior Court’s
24
              7
                It does not appear that the BPH relied on Petitioner’s current absence from AA to deny parole. See Transcript at
25   86-91. The BPH did note Petitioner’s absence, but did so in the context of recommendations for future parole hearings. See
     id. at 91. At the hearing, Petitioner indicated that the last time he had alcohol was “pruno” in 1988, that he missed one AA
26   meeting (which resulted in his ejection from the program) due to a change in work and sleep schedules, that he is currently
     on the list to get back into AA but is number 14 on that list, and that he has found AA type organizations and a sponsor
27   outside of prison. See id. at 25-26, 38-39, 57-58, 64, 67. None of this testimony was contradicted. In light of the above,
     especially that the BPH did not list Petitioner’s absence from AA as a basis for denying parole, cf. Burdan, 161 Cal.App.4th
28   at 161; Roderick, 154 Cal.App.4th at 262, Petitioner’s absence from AA is not some evidence of unreasonable danger.



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 1   conclusions and the findings made by the BPH. Petitioner had an unstable social history. The
 2   regulations define “unstable social history” as meaning “unstable or tumultuous relationships with
 3   others.” 15 C.C.R. § 2402(c)(3). Although Petitioner’s juvenile crimes and his history of using
 4   PCP, marijuana, and alcohol are not “relationships with others,”8 Petitioner was a member of a gang
 5   both inside and outside of prison. See Exhibit 3 at pp. 25, 27. Gang involvement in prison led
 6   Petitioner to commit acts of violence against other prisoners. See id. at 68-71. This is some
 7   evidence of unstable or tumultuous relationships with others.
 8            There also is some evidence to support the BPH’s conclusion that Petitioner had not
 9   benefitted from previous attempts at correction. Petitioner’s juvenile record indicates that he was
10   placed on probation and had portions of sentences suspended. Despite this experience, Petitioner
11   continued to drink and engage in schemes to illegally obtain alcohol, which ultimately resulted in the
12   tragic death of Kaufmann. Although this consideration is not expressly enumerated in either §
13   2402(c) or (d), the BPH was entitled to generally consider “all relevant information” and “past
14   criminal history.” 15 C.C.R. § 2402(b).
15            The BPH also correctly noted that the district attorney opposed giving Petitioner a parole
16   date. However, while the Board may consider this opposition, “voiced opposition to parole is not an
17   enumerated unsuitability factor . . . and such argument is not evidence of unsuitability.” In re Viray,
18   161 Cal.App.4th 1405, 1417 (2008).
19            Finally, the BPH found that the nature of Petitioner’s crime was especially cruel, heinous, or
20   callous. However, in Viray, the California Court of Appeals reviewed the Governor’s reversal of the
21   BPH’s granting of a parole date to a second degree murderer. The facts of Viray’s crimes were
22   similar to Petitioner’s:
23            On the night of February 14, 1982, 27-year-old Viray went to a nightclub with several
              of his friends carrying a large knife in his waistband. While on the dance floor, Victor
24            Gonzales Cacha bumped into Viray several times and kicked him. Viray felt
              intimidated, drew his knife and stabbed Cacha once or twice in the chest. Viray
25            continued to stab Cacha after the men fell to the floor. Someone took the knife away
              from Viray, but one of Viray’s friends grabbed the knife and fled the nightclub with
26
27            8
               The BPH could consider Petitioner’s use of PCP, marijuana and alcohol use, especially given the role that alcohol
     played in the commitment offense, under 15 C.C.R. § 2402(b)’s broad inclusion of allowing consideration of “all relevant
28   information.”



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 1          Viray. Cacha suffered stab wounds to each arm, left thigh, heart and lung and died
            from his injuries.
 2
     Viray, 161 Cal.App.4th at 1410.
 3
     The Court of Appeals determined that the Governor relied on the facts of the commitment offense
 4
     alone in reversing the BPH decision and then analyzed whether Viray’s crime exhibited a callous
 5
     disregard for suffering or was especially aggravated because of the extremely violent nature of the
 6
     attack. See id. at 1417. The Court of Appeals determined:
 7
            There is no evidence that Viray committed the crime in a manner that demonstrated
 8          an exceptionally callous disregard for human suffering. The initial stabbing to
            Cacha’s chest was quick, followed by a scuffle while Cacha was on the ground
 9          whereby he suffered additional stabbings. Nothing about the crime demonstrated an
            exceptionally callous disregard for human suffering, such as taunting or torturing the
10          victim. The fact Viray left the scene of the crime does not show that the crime itself
            was done in an exceptionally callous manner.
11
            While the attack was unquestionably violent, as are most murders, there is no
12          evidence suggesting that the crime was more violent than minimally required to
            sustain a second degree murder conviction. As other courts have noted, “‘[s]econd
13          degree murder is defined as the unlawful killing of a human being with malice
            aforethought’” and all second degree murders involve some amount of viciousness or
14          callousness to satisfy the malice requirement. Although the Governor suggests that
            the crime was especially aggravated because it involved multiple stab wounds, there
15          is no evidence showing that the first wound Viray inflicted was sufficient to kill the
            victim. Stated differently, without multiple stab wounds there may have been no
16          murder. Accordingly, there is no evidence showing this particular second degree
            murder was especially aggravated.
17
     Id. at 1418 (citations omitted).
18
     The Court of Appeals did find that the motive for Viray’s crime was trivial in relation to the offense.
19
     Id. However, the Court of Appeals determined that this finding did not support a conclusion that
20
     Viray would pose an unreasonable risk of danger if paroled:
21
            Viray committed a violent and impulsive act while intoxicated and has had over 24
22          years in prison to reflect on his actions. He has made commendable rehabilitative
            gains and is ready to be reintegrated into society and serve the remainder of his
23          sentence outside prison walls. Because we find no support in the record suggesting
            Viray would pose a threat to public safety if released, it serves no purpose to remand
24          this matter to the Governor to permit him to reconsider his decision.
25   Id. at 1419.
26          In the case at bar, the BPH noted that Kaufman was unarmed. However, so was victim in
27   Viray. See Viray, 161 Cal.App.4th at 1410. The BPH also noted that Petitioner was armed with a
28   knife prior to the offense. However, Viray was also armed with a knife prior to his offense. See id.


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 1   Further, simply being armed with a knife prior to a crime does not in itself show dispassion or
 2   calculation “such as an execution style murder.” Cf. 15 CCR § 2402(c)(1)(B). In this case, the
 3   undisputed evidence indicates that Petitioner attacked and killed Kaufman after Kaufman followed
 4   Petitioner’s friend out of the store and fought. While the entire confrontation stemmed from a
 5   misguided plan to illegally obtain beer, Petitioner murdered Kaufman because Kaufman was fighting
 6   with Petitioner’s friend. Given that Petitioner had been drinking prior to the offense (like Viray), the
 7   evidence indicates that the tragic killing of Kaufman was more spontaneous than calculated. The
 8   BPH also stated that the offense showed a callous disregard for human suffering in that Kaufman
 9   must have experienced unimaginable physical and emotional trauma due to the multiple stab
10   wounds, including being stabbed in the neck. However, Viray also inflicted multiple stab wounds on
11   the victim, Cacha. See Viray, 161 Cal.App.4th at 1410. Also as in Viray, there appears to be little
12   known about the wounds inflicted and there is no evidence of how long Kaufman was alive or
13   whether or how long he suffered given the wounds inflicted. While a wound to the jugular vein is no
14   doubt extraordinarily serious, it is unknown how deep the wound was, if this was the wound that
15   killed Kaufman, or whether Kaufman was dead prior to that wound being inflicted. All that is
16   known is that Petitioner stabbed Kaufman numerous times and Kaufman died as a result.9 Finally,
17   the BPH noted that the motive for Kaufman’s death was trivial because it was committed as a result
18   of a confrontation involving a clerk who would not sell his underage friends beer. It is true that the
19   confrontation evolved from the rightful refusal to sell beer to underage individuals. However, the
20   evolution of the offense was not the motive. The record does not reflect that the reason Petitioner
21   killed Kaufman was because Kaufman refused to sell beer, rather, as discussed above, the reason that
22   Petitioner killed Kaufman was that Kaufman was fighting with Petitioner’s friend. There is no
23   description of the relative sizes of Kaufman and Petitioner’s friend, nor is there a description of how
24   violent the fight may have been, but the record indicates that Petitioner was acting in the misguided
25   defense of another. In light of the above, and especially the analysis of Viray, there is not some
26   evidence to support the BPH’s finding that the offense was committed in an especially heinous,
27
28          9
                The Court is in no way trying to minimize Kaufman’s tragic death.



                                                                10
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 1   atrocious or cruel manner. See 15 CCR § 2402(c); Viray, 161 Cal.App.4th at 1410, 1418-19; see
 2   also Burdan, 161 Cal.App.4th at 31-32; Lee, 143 Cal.App.4th at 1411-12.
 3          Accordingly, of the enumerated factors, there is some evidence only of Petitioner’s history of
 4   unstable social relationships and his prior juvenile record/failure to benefit from prior attempts at
 5   correction. However, it is not enough that some evidence supports the BPH’s individual findings,
 6   rather, there must be some evidence that supports the ultimate conclusion that Petitioner would pose
 7   an unreasonable risk of danger if released. See Burdan, 161 Cal.App.4th at 28, 31; Tripp, 150
 8   Cal.App.4th at 313; Lee, 143 Cal.App.4th at 1408. That is, there must be some evidence that
 9   Petitioner currently poses an unreasonable risk. See Gray, 151 Cal.App.4th at 410; Weider, 145
10   Cal.App.4th at 589; Elkins, 144 Cal.App.4th at 499. The considerations upon which the BPH relied
11   during the January 2006 hearing are past, unchanging factors that are not recent. Petitioner began the
12   process of extricating himself from the prison gang in 1990 and the process apparently ended
13   successfully in 1993. See Transcript at 27, 63-64. There is no evidence that Petitioner currently is a
14   member of any gang. Further, all of Petitioner’s past offenses and the previous attempts to
15   rehabilitate Petitioner occurred prior to August 1986 while Petitioner was a juvenile.10 In other
16   words, the parole board relied on conduct that occurred between 16 and 20 years before the hearing
17   when it determined that Petitioner currently poses an unreasonable danger to society. The Court fails
18   to see how this past conduct supports a finding the petitioner currently poses an unreasonable risk of
19   danger to the public, especially in light of Petitioner’s conduct from 1990 onwards. Cf. Roderick,
20   154 Cal.App.4th at 277.
21          The evidence at the BPH hearing showed that Petitioner is remorseful over his crime. See
22   Transcript at 14, 49. Petitioner has improved himself educationally and vocationally. See 4, 34-35,
23   52-54, 88-89. Petitioner has formed meaningful relationships with his family while in prison, and in
24   particular his formerly estranged father. See id. at 21-23, 29, 33-34, 37, 43-47, 64, 66. Petitioner’s
25   juvenile crimes were not crimes of violence. Cf. id. at 16-17, 88 with In re Scott, 133 Cal.App.4th
26   573, 602 (2005). Petitioner’s last significant disciplinary infraction was in 1989. See Transcript at
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28          10
                 Petitioner’s date of birth is August 12, 1968. Exhibit 2.



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 1   62, 89-91. Petitioner has held several jobs within prison and recently received an excellent
 2   assessment from his supervisor. See id. at 54-57, 61, 64, 89. Petitioner has also completed anger
 3   management classes and has actively participated in AA and narcotics anonymous. See id. at 57-61,
 4   63. The last time that Petitioner consumed alcohol was in 1988, and it appears that Petitioner has
 5   remained clean and sober ever since. See id. at 25-26, 63-64. Petitioner has made arrangements to
 6   attend AA-type support groups outside of prison and has found a sponsor. See id. at 38-42. At the
 7   time of his offense, Petitioner had been drinking alcohol and had turned 18 years of age just a little
 8   over one month prior. See id. at 13, 20. Petitioner had very good parole plans, including two job
 9   offers and places at which to live. See id. at 33-34, 63, 89-90. Petitioner had no history of mental
10   illness. See id. at 3-4. Petitioner had reduced his classification score from 49 to 33. See id. at 51.
11   Finally, the 2004 psychological evaluation was very positive and indicated that Petitioner posed a
12   risk of danger to the public that was less than the average member of society.11 See id. at 63-66, 89.
13            It is not this Court’s place to re-weigh evidence. However, given the stale age and nature of
14   the prior, unchanging conduct upon which the BPH relied, as well as the Petitioner’s young age
15   when this conduct occurred, some evidence is required to lend support to the conclusion that
16   Petitioner currently poses an unreasonable risk. See Gray, 151 Cal.App.4th at 410; Weider, 145
17   Cal.App.4th at 589; Elkins, 144 Cal.App.4th at 499. This is especially true since the 2006 parole
18   hearing was the fifth hearing in which Petitioner was denied parole, and Petitioner has served more
19   than the minimum 15 years in prison. Cf. Irons, 505 F.3d at 853-54; Biggs, 334 F.3d at 917. Despite
20   the need for additional and/or more current information, the only other evidence supports the
21   conclusion that Petitioner has rehabilitated and does not currently pose an unreasonable risk of
22   danger to the public. Therefore, the Court cannot conclude that “some evidence” supports the BPH’s
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              11
                   Part of the psychological assessment read:
24
     [Petitioner] has an understanding of the factors that were at play at the time of his crime life and he has made a significant
25   change in the way that he conducts himself on a daily basis. He holds himself responsible for his behavior and has
     demonstrated the capacity to abide by institutional rule and regulation. He has evolved an appreciation of life and developed
26   a sense of ethics and morals that reflect the expectation of a general society.

27   Transcript at 65-66; cf. In re Smith, 114 Cal.App.4th 343, 369 (2003) (criticizing rejection of psychologist’s report in absence
     of contrary evidence of dangerousness).
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 1   determination that Petitioner currently poses an unreasonable risk of danger to the public. The
 2   Superior Court’s ruling that upheld the BPH’s decision to deny Petitioner parole violated due
 3   process.
 4
 5          Accordingly, IT IS HEREBY ORDERED that:
 6   1.     The Court declines to adopt the Findings and Recommendation of the Magistrate Judge;
 7   2.     Petitioner’s writ of habeas corpus is GRANTED; and
 8   3.     Within thirty (30) days of service of this order, the California Board of Parole Hearings must
 9          calculate a term for Petitioner in accordance with the requirements of California Penal Code
10          § 3041, with credit for time since the January 23, 2006, decision as if parole date had been
11          granted, and any other term credit to which he is entitled by law.
12
13   IT IS SO ORDERED.
14   Dated:     July 10, 2008                         /s/ Anthony W. Ishii
     0m8i78                                  CHIEF UNITED STATES DISTRICT JUDGE
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